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   EXHIBIT A
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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS

  ASHTON ORR, et. al.,
                                                         Case No. 1:25-cv-10313-JEK
                                    Plaintiffs,
       v.
  DONALD J. TRUMP, et. al.,
                                    Defendants.


           PLAINTIFFS’ MEMORANDUM IN FURTHER SUPPORT OF
   MOTION TO STAY AGENCY ACTION AND FOR A PRELIMINARY INJUNCTION

        Plaintiffs provide below additional clarity on this Court’s power to issue the requested stay of agency

action under Section 705 of the Administrative Procedure Act (“APA”). As explained in Plaintiffs’ briefing

and oral argument, this Court is empowered to stay “already effective agency action” under Section 705. See

ECF 62 at 13 (quoting Boyle v. Bessent, 2025 WL 509519, at *4 n.5 (D. Me. Feb. 14, 2025)). Precedent and

fundamental principles of fairness support the conclusion that the issuance of a stay of the Passport Policy

would re-establish the status quo of the most recent policy preceding the stayed agency action. As such, the

Court should order that all processing of passport applications, renewals, or changes be done in accordance

with Agency Defendants’ policies as they existed on January 19, 2025.

        Section 705 empowers courts to “issue all necessary and appropriate process to postpone the effective

date of an agency action or to preserve status or rights” while resolution of a case is pending. 5 U.S.C. § 705.

Issuance of a stay is not limited to circumstances where a policy has not yet gone into effect. “Courts—

including the Supreme Court—routinely stay already-effective agency action under Section 705.” Texas v.

HHS, 2025 WL 818155, at *11 (E.D. Tex. Mar. 13, 2025). A court’s decision to grant a stay is “an exercise

of judicial discretion . . . dependent upon the circumstances of the particular case.” Nken v. Holder, 556 U.S.

418, 433 (2009). A court will grant a stay where it deems the stay necessary “to prevent irreparable injury to

the parties or to the public.” Id. at 432. These conditions are met here. See ECF 30 at 10–30.

        By granting a stay under Section 705, a court “re-establish[es] the status quo absent the unlawful
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agency action,” thereby resituating the moving party to where they would have been had the improper policy

never taken effect. Texas v. Biden, 646 F. Supp. 3d 753, 771 (N.D. Tex. 2022); see also Wages & White Lion

Invs. L.L.C. v. USDA, 16 F.4th 1130, 1144 (5th Cir. 2021) (“[T]he relief sought here would simply

suspend administrative alteration of the status quo.”). 1

        When granting APA challenges to agency action, courts routinely “reinstate . . . rules previously in

force.” Georgetown Univ. Hosp. v. Bowen, 821 F.2d 750, 757 (D.C. Cir. 1987) (applying vacatur mechanisms

of 5 U.S.C. § 706). “[T]he scope of preliminary relief under Section 705 aligns with the scope of ultimate

relief under Section 706.” Career Colleges & Schs. of Tex. v. DOE, 98 F.4th 220, 255 (5th Cir. 2024); cf.

Boyle, 2025 WL 509519, at *4 (“[S]taying an agency rule . . . operates as a temporary form of vacatur under

the [APA].” (internal citations omitted)); Maryland v. Dep’t of Agr., 2025 WL 800216, at *25 (D. Md. Mar.

13, 2025) (“[J]ust as vacatur would likely be the appropriate remedy at the final judgment stage under the

APA, 5 U.S.C. § 706[,] the proper provisional remedy under Rule 65 and § 705 is a stay.”).

        “The effect of vacatur”—and the effect of a stay in this instance—“is to reinstate the rules previously

in force.” HIV & Hepatitis Pol’y Inst. v. HHS, 2023 WL 10669681, at *3 (D.D.C. Dec. 22, 2023) (cleaned

up); cf. Oxfam Am., Inc. v. SEC, 126 F. Supp. 3d 168, 172 (D. Mass. 2015) (vacatur under the APA acts to

“restore the status quo” (collecting cases)).       Indeed, as other federal courts have recognized, the

“reinstatement-on-vacatur principle” is “consistent with the unanimous body of law” from across the various

circuits. HIV & Hepatitis Pol’y Inst., at *3 (quoting AFL-CIO v. Chao, 496 F. Supp. 2d 76, 83 n.1 (D.D.C.

2007)); see also Action on Smoking & Health v. C.A.B., 713 F.2d 795, 797 (D.C. Cir. 1983) (“Thus, by

vacating or rescinding the recissions proposed by [the challenged rule], the judgment of this court had the

effect of reinstating the rules previously in force[.]”). 2 So too here: the Court should order Defendants to

restore the status quo and temporarily reinstate the prior passport policy.


1
 Issuance of a stay and a preliminary injunction are not mutually exclusive; courts can and do grant
both. See, e.g., Mass. Fair Hous. Ctr. v. HUD, 496 F. Supp. 3d 600 (D. Mass. 2020).
2
  In contrast, where courts have held that restoration of the pre-existing state altered rather than
preserved the status quo, the facts have been starkly different—such as when the movant waited
almost two years before seeking to have 22 months of construction undone. See Seafreeze Shoreside
v. Dep’t of Interior, 2023 WL 3660689, at *6 & n.7 (D. Mass. May 25, 2023).
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                                       Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 28, 2025, a true copy of the foregoing will be electronically

filed with the Clerk of Court using the CM/ECF system, which will then send a notification of

such filing (NEF).



                                                             /s/ Isaac D. Chaput
                                                             Isaac D. Chaput




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